     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 1 of 19




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SECURITIES AND EXCHANGE                         §
COMMISSION,                                     §
                                                §
       Plaintiff,                               §
                                                §
       vs.                                      §
                                                §
MAURICIO CHAVEZ, GIORGIO                        §          CIVIL ACTION NO. 4:22-CV-03359
BENVENUTO and CryptoFX, LLC,                    §
                                                §          JUDGE ANDREW S. HANEN
       Defendants.                              §
                                                §
CBT Group, LLC,                                 §
                                                §
       Relief Defendant.                        §


                           RECEIVER’S FIRST INTERIM REPORT

       John Lewis, Jr. (“Receiver”), the court-appointed Receiver for Mauricio Chavez

(“Chavez”), Giorgio Benvenuto (“Benvenuto”), CryptoFX, LLC (“CFX”) and CBT Group, LLC

(“CBT”), pursuant to the Order Appointing Receiver (“Receivership Order”) (Doc. No. 11) files

his First Interim Report (“FIR”), showing the Court as follows:

                                      EXECUTIVE SUMMARY

       In the sixty (60) days since his appointment, the Receiver and his team’s investigation has

uncovered the following:

       1.      The breadth, geographic scope, and financial impact of the apparent financial fraud

in this case is significantly larger and more extensive than could be known by the Securities and

Exchange Commission (“SEC”) at the time that the SEC brought this action. Rather than a fraud

in the $12 million range as previously thought, the Receiver has uncovered, through an as of yet

incomplete forensic review, credible evidence that conservatively estimates that approximately




RECEIVER’S FIRST INTERIM REPORT
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 2 of 19




40,000 individuals invested over $150 million. For example, Defendant CFX’s business records

show that the monthly “revenue” for at least two months in 2022 exceeded $10 million per month.

See CFX business record, “Volumen De Julio 2022” reflecting monthly payments to CFX for the

month of July 2022 in the $20 million range, attached herein as Exhibit A; see also Analysis of

Actual and Estimated Total Revenue 1/2021 - 9/2022, attached as Exhibit B. The analysis in

Exhibit B uses actual CFX reports for 9 months, which total $111 million in revenue. In addition,

the missing 12 months are estimated based on adjacent months and calculated as $113 million.

The total actual and estimated revenue is $224 million. While the Receiver believes these

estimates are reasonable, for purposes of this initial report, the Receiver had reduced the total

estimated investment to $150 million.

       2.      Based on a preliminary review of CFX’s business records as well as public records,

the Receiver is confident that CFX, Chavez, and related entities controlled by or affiliated with

Defendants, have continued, notwithstanding this Court’s Receivership Order enjoining them from

doing so, to conduct “business,” including soliciting and accepting “investor” money in the form

of cash. Further, according to various sources, Defendants continue to make “payments” in

cryptocurrency giving the appearance of ongoing, legitimate business. Since entry of this Court’s

Receivership Order, the Receiver has become aware (and has independently confirmed) ongoing

operations in Texas (new locations), California, New Jersey, Louisiana, and Illinois. In Receiver’s

view, there appears to be no meaningful lawful or legitimate business conducted by Defendants

herein, either before this action commenced or during the pendency of this Receivership.

Defendants’ activities and operations bear the indicia of a Ponzi scheme, whereby

“investors”/victims, many of whom are fearful of coming forward due to concerns regarding their

immigration status, were lured to invest in crypto currency and to participate in crypto




                                                2
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 3 of 19




“academies.” Many have reported promises of outsized investment returns and incentives for

recruiting other “investors.” This apparent fraud continues unabated. The Receiver and his team

have quickly identified and deployed resources across the country, interviewed victims willing to

do so, and continued to search business records, public records, social media, and issue third-party

subpoenas requesting information and documents.

       3.      Given the dynamics described above, the Receiver’s work in this case will require

ongoing recovery of, managing, accessing, and reviewing a significant volume of data from

electronic and paper business records recovered from Defendants’ businesses, forensic tracing of

millions of dollars in cash transactions, tranches of text messages, WhatsApp group messages and

threads, PayPal and other electronic payment methods, third-party records from depository

institutions, and professionals with client records comprising Receivership assets. Paper and

electronic business records alone recovered thus far approximate 177,099 pages of scanned paper

documents and seven terabytes of electronic data.

       4.      Early indications are that this case is likely to result in a substantial recovery, but

the list of victims, and amounts invested continues to grow. As is indicated later in this Report,

the Receiver has recovered approximately $3.7 million, which is currently on deposit in fiduciary

accounts established by the Receiver for this case. Further, the Receiver and his team have

identified and are actively liquidating an additional $6-8 million in Receivership assets and

identifying assets held by third parties. While the investigation of claims against third parties is in

its early stages, recovered business records indicating transfers of large amounts of money to CFX

senior employees, family members of the Defendants, related business entities, and other third

parties, support the strong likelihood that the Receivership Estate will have substantial causes of

action of significant amount against these third parties.




                                                  3
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 4 of 19




                                   I.      INTRODUCTION

       5.      This civil action filed by the SEC against Chavez, Benvenuto, CFX, and CBT

(together “Receivership Defendants”) involves allegations of a multi-million dollar securities

fraud directed at Latino investors. (“Complaint,” Doc. No. 3). The Complaint estimates that

Chavez raised more than $12 million and defrauded as many as 5,000 investors by soliciting to

trade their funds on crypto asset platforms through continued misrepresentations. Id.

       6.      The individual Defendants, Chavez and Benvenuto, are both Harris County, Texas

residents. The two Defendant entities are CFX and Relief Defendant CBT. CFX is a Texas

Limited Liability Company formed by Chavez in 2020 to develop and conduct his crypto currency

trading business. CBT is also Texas Limited Liability Company formed in 2020 by Chavez,

Benvenuto, and Gabriel Torres (“Torres”). Torres is not currently a party is this case in his

personal capacity. CBT appears to be a real estate development company formed for the purpose

of using funds generated by Chavez in the CFX business for real estate acquisition and

development.

       7.      On September 29, 2022, upon the SEC’s motion, this Court entered its Receivership

Order for all four Defendants—Chavez and Benvenuto, individually, and the two corporate

Defendants (“Receivership Estate”) (Doc. No. 11). In the Receivership Order, among other things,

the Court took exclusive jurisdiction and possession of all of the assets of the Receivership Estate

of whatever kind and wherever situated. Id. at ¶ 1.

       8.      The Receivership Order mandates that “all Receivership Assets are frozen” and “all

persons and entities with direct or indirect control over any Receivership Assets, other than the

Receiver, are hereby restrained and enjoined from directly or indirectly transferring, setting off,




                                                 4
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 5 of 19




receiving, changing, selling pledging, assigning, liquidating, or otherwise disposing of or

withdrawing such assets.” Id. at ¶ 3.

       9.      The Receivership Order further directed all Defendants and Relief Defendant and

all their past and/or present employees, contractors, agents, attorneys, and accountants, to preserve

and turn over to the Receiver forthwith all Receivership property, as well as all information and

documents, whether in paper or electronic form. Id. at ¶¶ 8, 17-18.

       10.     Additionally, the Receivership Defendants are required to affirmatively assist the

Receiver in fulfilling his duties and obligations and “must respond promptly and truthfully to all

requests for information and documents from the Receiver.” Id. at ¶ 13.

       11.     Among other things, the Receivership Order authorizes and directs the Receiver to:

               i. take custody, control, and possession of all records, assets, and other property
                  of the Receivership Estate;

               ii. conduct the business operations of Defendants, including the continuation or
                   termination of employment arrangements and all other aspects of any active
                   business operation;

               iii. administer the assets of the Receivership Estate, including the authority to
                    liquidate assets;

               iv. perform an accounting of the receipt, disposition, and use of the subject
                   investment proceeds; and

               v. investigate any matters that the Receiver deems appropriate in connection with
                  the Receivership Estate.

Id. at ¶¶ 14 – 20, 36 – 38, 40 - 41.

       12.     The Receivership Order directs the Receiver “to file with the Court and serve upon

the parties within 60 days of his appointment (November 28, 2022), a preliminary report setting

out the identity, location, and value of the known assets of the Receivership, and any liabilities

pertaining thereto.” Id. at ¶ 51. This Report is submitted in compliance with the Receivership




                                                 5
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 6 of 19




Order to inform the Court of the status of the Receiver’s investigation and activities in this matter

since the Receiver’s appointment on September 29, 2022. The Receiver will provide further

quarterly reports as provided for in the Receivership Order. Id. at 52.

       13.     This First Interim Report (FIR) is based upon the preliminary investigation

conducted by the Receiver and his team focused urgently on: (a) identifying and securing

Receivership assets wherever located; (b) securing and conducting cooperating witness interviews,

including a voluntary interview with one of the individual Defendants (Benvenuto); (c) the

preparing of paper and electronic records for a detailed forensic analysis; (d) review of CFX and

CBT business records obtained from investors or third-parties; and (e) conducting public records

searches and related due diligence to identify affiliated parties, entities, and other potential relief

defendants. As the work of the Receiver and his team are in very early stages, this FIR includes

some good faith estimates as to scope and volume of records, value of unliquidated Receivership

assets and only preliminary assessments as to disputed, unliquidated and contingent claims

belonging to the estate.

       14.     This FIR includes (a) a general summary of the work done to-date by the Receiver

and his team; (b) a statement as to the Receiver’s preliminary conclusions about the extent and

nature of the Receivership Estate’s assets and liabilities; and (c) the Receiver’s proposed plan for

administering the Receivership going forward.

                  II.      SUMMARY OF RECEIVERSHIP OPERATIONS

       15.     On September 29, 2022 (“First Day”), immediately following the hearing resulting

in the Receiver’s appointment, the Receiver, SEC attorneys and professional staff, with the




                                                  6
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 7 of 19




assistance of U.S. Marshall Service, arrived at the corporate offices of CFX at 1124 Blalock, Rd.,

Houston, Texas (“Blalock”). At Blalock, on the First Day, the Receiver:

               a. Took custody, possession, and control of the CFX leased business premises and
                  all the contents therein;

               b. Changed the Blalock exterior door locks;

               c. Posted signage that CFX was closed pursuant to Court Order and directed
                  victims and other third parties to contact the Receiver;

               d. Took custody of computers, i-pads, a phone, other electronic devices, the
                  office’s security system, and two safes protected by codes and/or access keys;

               e. Took possession of all furniture and other items found at Blalock;

               f. Secured CFX and CBT business records onsite;

               g. Took possession of $53,345.56 in cash found in small denominations in various
                  locations in Blalock;

               h. Interviewed Chavez and Benvenuto and their attorneys (John Sklar and Dan
                  Cogdell);

               i. Performed initial inventory and inspection of the documents and items;

               j. Personally inspected images from CFX’s security surveillance system to
                  identify CFX computers that were removed from Blalock before the Receiver’s
                  appointment; and

               k. Personally interacted with potential victims who arrived at Blalock
                  intermittently to collect promised payments owed to them by CFX.

       16.     The following day, September 30, 2022, and over the course of the following days,

the Receiver and his team returned to Blalock and accomplished the following:

               a. Complete sweep of the CFX premises consisting of two floors and
                  approximately 26 offices, work spaces and meeting rooms, carefully packing
                  all paper records, notes and computers and arranging to move the same to a
                  secure location for scanning and review over a three day period;

               b. Established contact with Blalock landlord;




                                                7
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 8 of 19




              c. Encountered and interacted with more potential victims who arrived at Blalock
                 to collect promised payments owed to them by CFX.

              d. Established contact with Coinbase, Blockchain and depository institutions
                 regarding Defendants’ accounts frozen by the S.E.C. to advise of the Receiver’s
                 appointment and began the process of collecting relevant records and sweeping
                 those accounts;

              e. Submitted IRS Form 56 advising of Receiver’s interest;

              f. Coordinated with the Post Master to forward all mail for the Defendants to the
                 Receiver’s address;

              g. Opened trust accounts under the name of each Receivership Defendant;

              h. Prepared notices of lis pendens and appointment of the Receiver and recorded
                 the same in the relevant property records.

       17.    More specifically, the Receiver’s team collected 32 devices and 55 boxes of paper

documents from Blalock, noting the specific office locations within the Blalock premises where

business records and devices were found. These devices and documents were sent to Gulfstream’s

(image and data company) secure facility, where the documents would be scanned and information

would be forensically collected from the devices. Eight devices are either encrypted or protected

by username and password, and the data on these devices is not accessible without the user

credentials. Despite repeated requests, Chavez has refused to provide (or provide the names of

those who may be able to provide) the credentials for these devices. The remainder of the devices

have had the data from the user folders extracted, processed (including deduplication) and loaded

to the Relativity database. The paper documents have all been scanned. The scanning process

resulted in 177,099 pages of scanned paper, all which have been loaded into the Relativity

database. For a more detailed description of the devices collected from Blalock and corresponding

image size and file count, see Exhibit C.




                                               8
     Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 9 of 19




       18.       Pursuant to the Receivership Order, the Receiver employed the following

professionals:

             a. Shook, Hardy & Bacon LLP (“Shook”) as his legal counsel;

             b. Hays Financial Consulting, LLC, of Atlanta, Georgia (“HFC”), to serve as
                accountants, forensic examiners, and financial consultants to the Receiver; and

             c. Pugh & Accardo PC as his legal counsel in the State of Louisiana.


       As a result, the Receiver has had a team of professionals, including attorneys and forensic

accountants, working with him in the administration of the Receivership and in conducting this

investigation.

       19.       Also pursuant to the Receivership Order, the Receiver employed the following

third-parties to assist with the performance of his duties, including:

                 a. Mark Dimas of Dimas Property to assist with the sale of multiple parcels real
                    estate receivership assets;

                 b. KCC to build and maintain the Receiver’s website;

                 c. Translation and Interpretation Network to assist with translation of key
                    documents and information from English to Spanish for the benefit of Spanish-
                    speaking victims; and

                 d. Gulfstream Legal Group to assist with the imaging of the computers and other
                    devices and scanning of paper documents.

       20.       Within a few days of the Receiver’s appointment, the Receiver and his team

established an information website (http://cryptofxreceiver.com/) for all “investors”/victims, any

creditors, and others with regard to the status of the Receivership and to provide for on-going

communications, updated pleadings filed in the proceeding, and an e-mail address and phone

number for questions and inquiries. The information is provided in both English and Spanish. In

addition, the website provides answers to frequently asked questions and access to the complete




                                                  9
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 10 of 19




court docket with no PACER charges. The Receiver and his team are also working with KCC to

optimize the website with key words for easier Google search by “investors” and others.

       21.     The Receiver also established an email and phone number, both of which are posted

on the Receiver’s website, for “investors”/victims to contact the Receiver and his team. As of the

filing of this FIR, the Receiver’s team has collected information and/or documents from 218

victims.

       22.     In addition, the Receiver’s team has conducted interviews with several cooperating

“investors,” and others are scheduled to take place in December 2022. The SEC estimated the

number of victims in this case to be 5,000. The Receiver has not identified a list of all “investors”;

however, reports from victims and a review of CFX’s sequentially numbered “contracts” signed

by “investors” indicate the number may be as high as 40,000. The highest contract number we

have seen in the records so far is 56,030; however, there were rollover accounts, which we estimate

at 30%, as indicated in Exhibit B. The Receiver and his team continue to search for a list of all

investors.   See Copies of Venture Agreements CryptoFX, LLC Nos. 056030-34 signed on

September 28, 2022, more than a week after this case was filed and the day before the Court

appointed the Receiver, is attached as Exhibit D.

       23.     Further, with the entry of the Temporary Restraining Order (“TRO”), this Court

froze the Defendants’ assets and monies subject to their direct and/or indirect control. The SEC

served the TRO on various financial institutions. Following the Receiver’s appointment, the

Receiver and his team served notice of his appointment and the continuation of the asset freeze

upon additional banks, crypto currency platforms, financial institutions, and other entities. A list

of the 25 entities upon which Freeze Letters have been served by the SEC and the Receiver is

attached as Exhibit E.




                                                 10
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 11 of 19




       24.     The Receiver has also issued third-party subpoenas for the collection of documents

and information to financial institutions, crypto currency platforms, professionals retained by the

Defendants, and other fact witnesses. A list of the third-party subpoenas issued in this case by the

Receiver is attached as Exhibit F.

       25.     With regard to real estate Receivership assets, the Receiver has listed two of these

properties located in Waller County, TX, for sale and a third one is expected to be listed soon.

       26.     The Receiver has recorded lis pendens notices in five other real estate properties

located in Fort Bend County, TX. Records show these properties, while not directly owned by the

Defendants, were purchased with Receivership funds.

       27.     Additional work performed by the Receiver and his team since the appointment of

the Receiver includes:

               a. Perform preliminary evaluation of the assets held by the Receivership Estate;

               b. Plan for the preparation of an accounting of the sources and uses of funds of the
                  Receivership estate;

               c. Serve requests for documents, information and for turnover of Receivership
                  assets to the Defendants;

               d. Request return of the retainers held by Defendants’ counsel;

               e. Registration of the Receivership Order in federal districts where Receivership
                  assets are potentially located or where Defendants’ fraudulent activities appear
                  to continue, including Northern District of Texas, Western District of Texas,
                  Northern District of California, Eastern District of Louisiana, Central District
                  of Illinois, and District of New Jersey;

               f. Negotiate termination of the lease with the Blalock landlord;

               g. Negotiate termination of third-party services at Blalock and coordinate removal
                  of furniture and other leased property;

               h. Interview Defendant Benvenuto;




                                                11
       Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 12 of 19




               i. Place signs on the door of Defendants’ office in Chicago, IL and direct
                  “investors”/victims to the Receiver’s website and to contact the Receiver;

               j. Access the code-protected safes at Blalock through the services of a locksmith
                  and obtain the cash and documents found therein.

               k. Coordinate valuation and sale of Receivership personal property, such as
                  television sets, cash-counting machines, computer monitors, and others.

         28.   As a result of these and other activities, the Receiver and his team believe that they

has gained a good understanding of the facts and issues that will be most critical to the effective

administration of this Receivership, many of which are set forth in this Report.

III.     CASH ON HAND AND ESTIMATED ACCRUED ADMINISTRATIVE EXPENSES

         29.   As of the filing of this FIR, the Receivership Estate has $3,737,530 deposited in

four trust accounts named for each of the Defendants.

         30.   Currently, the Receivership has accrued approximately $8,566.98 in administrative

expenses. See Table describing administrative expenses incurred by the Receivership, attached as

Exhibit G.

         31.   The Receiver and the professionals working with him are well aware that the fees

and expenses associated with the administration of the Receivership are paid from the assets of the

Receivership Estate. The goal of all involved professionals is to conclude this Receivership as

quickly and efficiently as can be reasonably accomplished thereby maximizing recovery to

victims.

         32.   Prior to the Receiver’s appointment, the Receiver submitted a proposed fee

structure, which included significant discounts from the professionals’ standard market rates and

a $120,000 cap for their professional fees incurred in the first 60 days.

         33.   As with all receiverships, the earliest phase is labor intensive, requiring significant

time and effort from multiple professionals. As of November 28, 2022, the total professional fees




                                                 12
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 13 of 19




incurred are approximately $245,800. See Table describing fees billed by retained professionals,

attached as Exhibit H. The fees are greater than the cap principally due to (1) lack of cooperation

by Defendants; (2) lack of any organized accounting records; (3) on-going fraud; (4) massive fraud

with an estimated 40,000 investors, thousands more than estimated by the SEC, with estimated

total investments of over $150 million.

       34.     As provided for in the Receivership Order, the Receiver and the professionals

working with him will apply to the Court for approval to pay professional fees and expenses.

               IV.     SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       35.     As of the filing of the FIR, no disbursements to “investors”/victims or creditors

have taken place.

         V.        DESCRIPTION OF ALL KNOWN RECEIVERSHIP PROPERTY

       36.     At this preliminary stage, the Receiver estimates a total of $ 10,388,543 in known

liquidated and unliquidated Receivership assets. For a more detailed description of currently

known Receivership property and corresponding approximate value, see attached as Exhibit I.

       37.     It is the Receiver’s plan to prudently market and sell the real estate and other assets

of the Receivership for the highest prices obtainable. All sales of real estate must be approved by

the Court, following a motion to the Court and hearing if necessary.

       38.     The Receiver and his team’s investigation is continuing; however, the investigation

shows additional Receivership property held by third parties. The Receiver plans to seek a

turnover of all of these assets and also move for the expansion of the Receivership Order to include

other persons and/or entities known to hold Receivership assets, as discussed below in Section

VIII of the FIR.




                                                 13
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 14 of 19




       39.     Depending on the equity in each of the properties, appropriate action will be taken

to either sell, hold, donate, or abandon properties in order to maximize the return of cash to the

estate. It is too early to tell at this time what price the assets will sell for, the relative costs

associated with the sales, or the potential recovery benefit to the Receivership estate.

       VI.     DESCRIPTION OF LIQUIDATED AND UNLIQUIDATED CLAIMS

       40.     This Ponzi scheme was primarily an all-cash scheme, and it is going to require

significant resources to unravel the claims of the Receivership estate. A review of the monthly

data discussed in Exhibit B indicates that 90% of the investments in available records were in cash.

       41.     The Receiver will have substantial claims for bonuses and commissions for a large

number of third parties and will have to evaluate collectability from these parties. Other claims

will have to be researched in the 177,000 pages of scan data and approximately seven terabytes of

electronic data.

                         VII.   LIST OF ALL KNOWN CREDITORS

       42.     At this preliminary stage, the only known creditor is BZO Custom Wheels, LLC,

the landlord of the CFX’s offices on Blalock (“Landlord”). Landlord has an unliquidated claim

for approximately $20,239.18 against the Receivership estate, which includes rent and utility bills.

The Receiver and his team are negotiating the sale of Receivership personal property at Blalock to

set off Landlord’s claim.

       43.     The Receiver and his team’s investigation is ongoing as to potential claims from

victims. This Court retains jurisdiction over all claims against the Receivership Estate. The

Receiver will develop a distribution plan for the processing of all claims, which will be submitted

to the Court for approval.

       44.     The Receiver is not aware of other creditors at this stage.




                                                 14
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 15 of 19




VIII. RECEIVER’S PROPOSED PLAN FOR ADMINISTERING THE RECEIVERSHIP

       45.     The Receiver recommends the continuation of the Receivership, which was

established only 60 days ago.

       46.     The Receiver’s key focus for the next 90 days will be on the following tasks:

                  Review scanned and imaged documents
                  Determine other third parties who may possess relevant information and/or
                   documents and serve additional freeze letters and subpoena such records and
                   witness testimony, including from CFX former employee and/or agents
                  Trace funds to locate additional assets
                  Determine commissions paid and if those will be pursued
                  Determine the Net Winners
                  Develop electronic claim form for investors
                  Establish claims verification process
                  Continue working with realtors and appraisers to sell the real properties
                  Determine resale value of personal property and the appropriate method of sale
                   in order to maximize the benefit to the Receivership estate
                  Continue communications with “investors” and/or their counsel

       47.     The Receiver intends to file a motion for show cause against Chavez for failure to

comply with the Receivership Order, including failure comply with ¶¶ 9 and 10 of the Order,

failure to turn over Receivership assets and produce documents and information requested by the

Receiver

       48.     In addition, the Receiver and his counsel will determine whether there are claims

against third parties that could result in meaningful recovery to the Receivership Estate.

       49.     The Receiver also intends to file a motion to expand the Receivership estate to

include entities that hold Receivership assets and/or funds.

       50.     In addition, the Receiver and his team will continue to conduct a factual and legal

analysis of issues that could affect whether tracing should be applied to certain investments. Based

on the information and documents reviewed to date with estimated 40,000 investors and over $150




                                                15
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 16 of 19




million in investments, with 90% of that in cash, and some payments in Bitcoin, it does not appear

that complete tracing of investments will be possible and/or practicable.

       51.     The Receiver and his team have determined that the majority of the funds received

from and paid to “investors”/victims were in the form of cash. This determination is based on a

review of CFX’s paper records as well as data imaged and extracted from the computers located

at Blalock. CFX records show that the cash received by CFX was not deposited into a bank

account but simply taken in from one set of investors and then paid out to another set of investors.

On some days, over $1 million in cash was received and then immediately paid out. See e.g. CFX

Business Record “Report 03/30/2022,” which indicates for this day there was $2,029,000 in

revenue and $1,948,087 was paid out as shown in the “Cash Report” section of the Daily Report,

attached as Exhibit J.

       52.     In addition to analyzing the sources and uses of cash, the Receiver and his team

will be analyzing transactions through the Defendants’ cryptocurrency and bank accounts. The

Receiver is in possession of transaction reports from Coinbase and Blockchain.com, which appear

to be the primary platforms used to invest in cryptocurrencies, as well as the Defendants’ bank

account records.

       53.     To date, the Receiver has not located a set of books and records that tracked CFX’s

cash, banking, investments and investor activity. Instead, the transactions are scattered among

various reports, which must be analyzed by the Receiver’s team and compiled to complete the

Receiver’s analysis. If the Receiver is unable to locate a set of books or transaction ledgers, the

funds tracing analysis may be a lengthy manual process.

       54.     Additionally, in blatant violation of these Court’s Receivership Order, CFX

representatives continue to operate, soliciting investments and promising payments to investors.




                                                16
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 17 of 19




The Receiver and his team have identified several other CFX satellite offices operating in Texas,

California, Illinois, New Jersey, and Louisiana. On November 15, 2022, the Receiver sent a cease

and desist letter to Chavez, asking that he and persons under his control cease all CFX-related

operations. For a more detailed description of these ongoing activities, see Exhibit K. The

Receiver and his team will continue to investigate these activities in accordance with the

Receivership Order and for the benefit of the Estate.

       55.     Further, in the following 90 days, the Receiver and his team will begin developing

a Liquidation Plan. The Receiver estimates that a Liquidation Plan will be filed with the Court by

March 1, 2023.

       56.     In administering the Receivership Estate, the Receiver will consider the cost and

the likely benefit associated with most activities, although it is important to understand that there

are certain activities that must be undertaken regardless of the cost.

       57.     At this early stage, it is difficult to predict how long it will take for the Receiver to

complete his work. As the Receivership moves forward, the Receiver and his team will continue

its efforts to most efficiently recover and realize the value of assets for the benefit of the

Receivership Estate.

Respectfully submitted, this 28th day of November, 2022.




                                                  17
  Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 18 of 19




Dated: November 28, 2022             Respectfully submitted,

                                     SHOOK, HARDY & BACON L.L.P.

                                     By: /s/ Sonila Themeli
                                         Sonila Themeli
                                         Texas Bar No. 24073588
                                         S.D. Tex. Bar No. 2828237
                                         600 Travis Street, Suite 3400
                                         Houston, TX 77002
                                         Telephone: 713.227.8008
                                         Facsimile: 713.227.9508
                                         sthemeli@shb.com

                                            Caroline M. Gieser
                                            (admitted pro hac vice)
                                            1230 Peachtree Street, NE, Suite 1200
                                            Atlanta, GA 30309
                                            Telephone: 470.867.6000
                                            mcgieser@shb.com


                                         Counsel for Court-appointed Receiver




                                    18
    Case 4:22-cv-03359 Document 33 Filed on 11/28/22 in TXSD Page 19 of 19




                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 28th day of November, 2022, the above and foregoing

document was filed electronically through the CM/ECF system, which sent notification of such

filing to all known counsel of record, addressed as follows:

 Matthew J. Gulde                                 Mauricio Chavez, Pro Se
 UNITED STATES SECURITIES                         9423 Autauga Street
 AND EXCHANGE COMMISSION                          Houston, TX 77080
 Burnett Plaza, Suite 1900                        ceo10explan@gmail.com
 801 Cherry Street, Unit 18
 Fort Worth, TX 76102                             Defendant Pro Se
 Telephone: 817.978.1410
 Facsimile: 817.978.4927                          Dan L. Cogdell
 guldem@sec.gov                                   Jones, Walker L.L.P.
                                                  811 Main Street, Suite 2900
 Attorney for Plaintiff                           Houston, TX 77002
                                                  Telephone: 713.437.1869
                                                  Facsimile: 713.437.1810
                                                  dcogdell@joneswalker.com

                                                  Attorney for Defendant,
                                                  Giorgio Benvenuto




                                            /s/ Sonila Themeli
                                            Sonila Themeli




                                                19
